Case 1:20-cr-00007-JPJ-PMS Document 13-1 Filed 02/14/20 Page 1 of 3 Pageid#: 30




                                   W RW TEN ACTIO N OF TH E
                                     BOARD OF DIRECTORS
                                                 OF
                          ANIM AT,HEALTH INTERNATIONAL INC.
          n eundersignedrbeing a11ofthemembersoftheboard ofdirectors(the K%oard''lof
    AnimalHealth Intemational,Inc.,aColoradocorporation (the<fompanv'),fortheptuposeof
    àking action w ithout a m eeting pursuant to Section 7-108-202 of the Colorado Business
    Corporation A ct,do hereby consentto,vote in favor of,and adoptthe follow ing resolutionsby
    written consentwithoutam eetz g,effectiveasofFebruary4,2020.
                                       PLEA A GREEM ENT
            W H EREAS, the Com pany, together with outside counsel reporting to the Special
    Investigaion Committee of the Board of Directors of Patterson Companies, lnc.(EISIC
    Cotmsel''l,hasbeen indiscussionswiththeU.S.Attorney'sOfscefortheW esternDistrictof
    Virginia(KGUSAO-WDVA'')toresolveitsinvestigationintoAnimalHea1thIntemational,Inc.by,
    amongotherthings,havingtheCompanyenterintoaPleaAgreement(theEsAgreemenf');
           W H EREAS,S1C Counselhasadvised the Board ofthe term softhe Am eem entand the
    consequencesofentering into theA greement;and
           W H EREAS,the Board has determ ined thatitisin the bestinterestofthe Com pany to
    enterinto theA p eement.
            N OW , TH EREFO RE, BE IT RESOLVED , that the Board hereby approves the
    Apeementand authorizesany offkerofthe Company (the EWuthorized Offkers'')and SIC
    Cotm selto execute and deliverthe Agreem enton behalfofthe Com pany,with such changes as
    the Authorized Offk ers m ay approve, such approval to be conclusively evidenced by the
    execution ofthe changed Agreem ent;and further
            RESO LVED ,thatthe Company ishereby authorized and directed to plead guilty to the
    charge specified in the Agreem entin the U.S.D istrictCourtforthe W estern DistrictofV irginia;
    and further
           RESO LVED,thatthe Autholized Ofscers and SIC Counselare hereby authodzed and
    directed to execute and deliver a1lother docllm entsnecessary to carry outthe provisions ofthe
    A greem ent;and further
           RESO LVED,thatthe Authorized Ofticers and SIC Counselare hereby autholized and
    directed to appearon behalfofthe Company and entersuch guilty plea;and fndher
           RESO LVED,thatthe Authorized Officers and S1C Colm selare hereby authorized and
    directed to acu owledge on behalf ofthe Com pany thatthe Agreem ent and related docllm ents
    (thetr ocuments'')fully setforth theagreementmadebetween theCompany and theUSAO-
    W DV A,and thatno additionalprom ises orrepresentationshave been m ade to the Company by
    any offk ials ofthe USAO-W DVA in connection with the Agreem ent,otherthan those setforth
    in the Docum ents;and further


    12309931v1
Case 1:20-cr-00007-JPJ-PMS Document 13-1 Filed 02/14/20 Page 2 of 3 Pageid#: 31




           RESOLVED,that(i)thePresidentandClliefExecutiveoffceroftheCompany,(ii)the
    VicePresidentatldChiefFinancialOfticeroftheCompany,(iii)theSecretaryoftheCompany,
    (iv)theAssistantTreasureroftheCompany,or(v)any oftheirm itten designees,respective
    successors or current or future ofik ers of the Com pany holding the sam e or sim ilar titles are
    autholized and directed to m ake any paym entsrequired in connection with the A greem ent;and
    further
             QESOLVED,thattheofficersofthe Com pany be,and each ofthem hereby isautholized
    and empowereda itl the nam e and on behalf of the Company,respectively,to m ake a11 such
    arrangem ents,to do and perform al1 such acts and things,and to execute and deliver a11such
    certificates and such other instrumentand docllm ents as they may deem appropriate in order to
    effectuate fully the pup ose ofeach and a11ofthe foregoing resolutions,and that any and a1l
    actionstaken heretofore and hereafterto accomplish such pmposes,al1or singular,be,and they
    hereby are approved,ratified and confirmed;and further
            RESO LVED,thatany actionstaken by any ofthe ofscers ofthe Com pany pdor to the
    date of the foregoing resolutions adopted hereby thatare w ithin the authority conferred hereby
    are ratifed,confirmed and approved asthe actand deed ofthe Company,respectively.

                                       IsignaturePagefollowsj




    12309931v1
Case 1:20-cr-00007-JPJ-PMS Document 13-1 Filed 02/14/20 Page 3 of 3 Pageid#: 32




             IN W ITNESS W H EQEOF,tlw undersigned have executed this written action to be
     effectiveasofthedateSrstwritten above.



                                               M ark S.W alchirk


                                                      Qr
                                               LesB.Korsh

                                               Constituting aIIofthe mem bersoftheBoard
                                               ofDirectors ofAnim al11* 1th International,
                                               Inc.




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